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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTICT OF FLORIDA
                               JACKSONVILLE DIVISION


 MICHAEL S. MONG,

           Plaintiff,                                       Case No. 3:22-cv-00684

 v.

 ENHANCED RECOVERY COMPANY,
 LLC.

           Defendant.
                                                     /

                                          COMPLAINT

         NOW COMES MICHAEL S. MONG (“Plaintiff”), by and through his undersigned

attorney, complaining as to the conduct of Enhanced Recovery Company, LLC (“Defendant”), as

follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692 et seq.

                                    JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, and 28 U.S.C.

§§1331 and 1337, as the action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(1) as Defendant is domiciled

in the Middle District of Florida as it maintains its principal place of business located at 8014

Bayberry, Jacksonville, Florida 32256.




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                                             PARTIES

   4. Plaintiff is a natural person over 18-years-of-age who is a “consumer” as the term is defined

by 15 U.S.C §1692a(3), and is a “person” as defined by 47 U.S.C. §153(39).

   5. Defendant is debt collector within the meaning of 15 U.S.C. § 1692a(6), in that it uses postal

mail, an instrumentality of interstate commerce for its business, the principal purpose of which is

the collection of debts, and/or it regularly collects or attempts to collect, directly or indirectly,

debts owed or due or asserted to be owed or due another.

   6. Defendant maintains its principal place of business located at 8014 Bayberry, Jacksonville,

Florida 32256.

                              FACTS SUPPORTING CAUSE OF ACTION

   7. On May 12, 2022, Plaintiff obtained a new cellular phone number ending in 7352.

   8. Soon thereafter, Plaintiff began receiving collection calls to his new cellular telephone

number (704) XXX-7352 from Defendant attempting to collect an alleged debt unknown to

Plaintiff (“alleged debt”).

   9. At all relevant times, Plaintiff is the sole subscriber, owner, possessor, and operator of the

cellular telephone number ending in 7352.

   10. Plaintiff was perplexed as to why Defendant was calling him because the alleged debt

Defendant was attempting to collect did not belong to him, but rather was owed by an individual

named “Sonia.”

   11. Plaintiff never provided his telephone number to Defendant or otherwise expressly

consented to Defendant’s phone calls.

   12. Plaintiff answered the very first call from Defendant to inquire as to why Defendant was

calling him.



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   13. Upon learning that Defendant was calling for a Sonia, Plaintiff informed Defendant that it

had the wrong number and that he wanted the calls to cease.

   14. Shortly thereafter, Plaintiff answered another phone call from Defendant to his cellular

phone. In that call, Plaintiff again stated he was not Sonia. In response, Defendant’s representative

stated: “we’re very sorry, we will remove your name from our calling list.”

   15. Despite knowing that Plaintiff was not “Sonia” and that Plaintiff’s phone number was the

wrong number to reach that consumer, Defendant continued to call Plaintiff at an unnecessary and

harassing rate.

   16. Frustrated with the frequent harassing collection calls, sent text messages and emails to

Defendant advising that it was calling the wrong party and that he wanted the calls to cease.

   17. Plaintiff has asked Defendant for its physical address so that he may travel to its office to

provide proof of his identity in an effort to stop the harassing telephone calls. Defendant refused

to provide a location for Plaintiff to verify his identity to Defendant.

   18. Defendant has used numerous phone numbers to place collection calls to Plaintiff’s phone

number, including but not limited to (980) 301-0258, (800) 685-1956 and (833) 378-1912.

   19. Upon information and belief, it may have also used other phone numbers to place calls to

Plaintiff’s telephone in an attempt to collect on the alleged debt.

   20. Notwithstanding Plaintiff’s requests that Defendant’s collection calls cease, Defendant

placed or caused to be placed dozens of wrong party calls from May 12, 2022, through the present

day in an attempt to collect on a defaulted debt belonging to another person without Plaintiff’s

prior express consent.




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                                                DAMAGES

   21. Defendant’s excessive and malicious conduct has severely impacted Plaintiff’s daily life

and general well-being.

   22. Plaintiff was unduly inconvenienced and harassed by Defendant’s unlawful attempts to

collect the alleged debt.

   23. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s telephone capacity, wasting Plaintiff’s time, harassment, emotional

distress, anxiety, and loss of concentration.

             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   24. Plaintiff restates and realleges paragraphs 1 through 17 as though fully set forth herein.

   25. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   26. Defendant is a “debt collector” as defined by §1692a(6) because its primary business

purpose is the collection of delinquent debts and it regularly collects debts and uses the mail and/or

the telephones to collect delinquent accounts allegedly owed to a third party.

   27. Moreover, Defendant is a “debt collector” because it acquired rights to the alleged debt

after it was in default. 15 U.S.C. §1692a(6).

   28. The alleged debt in which Defendant attempting to collect upon is a “debt” as defined by

FDCPA §1692a(5) as it arises out of a transaction due or asserted to be owed or due to another for

personal, family, or household purposes.

   29. Defendant used the phone to attempt to collect the alleged debt from Plaintiff and, as such,

engaged in “communications” as defined in FDCPA §1692a(2).




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   30. Defendant’s phone communications to Plaintiff were made in connection with the

collection of the alleged debt.

   31. Defendant violated 15 U.S.C. §§1692c(a)(1), d, d(5), e, e(2), e(10), f, and f(1) through its

unlawful debt collection practices on a debt that never belonged to Plaintiff.

       a. Violations of FDCPA § 1692c

   32. Defendant violated §1692c(a)(1) when it continuously called Plaintiff after being notified

to stop and that he was not the correct person Defendant was attempting to contact. This repeated

behavior of continuously and systematically calling Plaintiff’s telephone after he demanded that it

cease contacting him was harassing and abusive. Even after being told to stop contacting him and

that he was not the owner of the debt, Defendant continued its onslaught of phone calls with the

specific goal of oppressing and abusing Plaintiff into paying a debt that he did not legally owe as

it belonged to another individual.

   33. Moreover, Defendant was repeatedly notified by Plaintiff that he is not the individual it

was looking for and that its calls were not welcomed. As such, Defendant knew that its conduct

was inconvenient, unwanted, and distressing to him.

       b. Violations of FDCPA § 1692d

   34. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly calling Plaintiff’s telephone seeking immediate payment on a debt that did not belong

to him. Moreover, Defendant continued placing the calls after Plaintiff put Defendant on notice

that he did not owe the alleged debt and demanded that the calls cease.

   35. Defendant violated §1692d(5) by causing Plaintiff’s telephone to ring in an attempt to

engage Plaintiff in conversations regarding the collection of a debt not owed by Plaintiff with the

intent to annoy, abuse, or harass Plaintiff.



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       c. Violations of FDCPA § 1692e

   36. Defendant violated §1692e, e(2), and e(10) when it used deceptive means to collect and/or

attempt to collect the alleged debt from Plaintiff. Defendant knowingly contacted the wrong party

seeking to collect upon a debt not owed by Plaintiff. Even after being apprised of its unlawful acts,

Defendant continued its harassing behavior by calling Plaintiff in a deceptive attempt to force him

to answer its calls and ultimately make a payment, even though the debt did not belong to him.

Through its conduct, Defendant misleadingly represented to Plaintiff that it had the legal ability to

contact him when it never had prior consent to do so in the first place.

       d. Violations of FDCPA § 1692f

   37. Defendant violated §1692f and f(1) when it unfairly and unconscionably attempted to

collect on a debt by continuously calling Plaintiff and asking to speak with an individual who was

not Plaintiff. Defendant repeatedly attempted to coerce Plaintiff into making a payment that he did

not legally owe. These means employed by Defendant only served to worry and confuse Plaintiff.

   38. Defendant had enough information to be aware of the fact that it was calling the wrong

person. Nevertheless, it persisted with its phone call campaign in contacting the wrong individual,

and knew that its conduct was inconvenient and harassing to Plaintiff.

   39. As an experienced debt collector, Defendant knew or should have known the ramifications

of collecting on a debt through incessant harassing phone calls to the phones of consumers that do

not legally owe such debt.

   40. Upon information and belief, Defendant systematically attempts to collect debts through

harassing conduct and has no procedures in place to assure compliance with the FDCPA.

   41. As stated above, Plaintiff was severely harmed by Defendant’s conduct.




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WHEREFORE, Plaintiff, Michael S. Mong, respectfully requests that this Honorable Court:

       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. Enjoin Defendant from further contacting Plaintiff;
       c. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
           for the underlying FDCPA violations;
       d. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k; and
       e. Award any other relief as the Honorable Court deems just and proper.


                                           COUNT II
                 North Carolina Unfair and Deceptive Trade Practices Act
   42. Plaintiff incorporates Paragraphs 1 through 34 as fully set forth herein.

   43. The alleged debt and Defendant’s collection efforts constitute “commerce” as defined by

N.C. General Statute §75-1.1(b).

    a. Violations of N.C. General Statute §75-52

   44. The N.C. General Statute §75-52 prohibits a debt collector from “use[ing] any conduct,

the natural consequence of which is to oppress, harass, or abuse any person in connection with the

attempt to collect any debt. Such unfair acts include (4) Causing a telephone to ring or engaging

any person in telephone conversation with such frequency as to be unreasonable or to constitute a

harassment to the person under the circumstances or at times known to be times other than normal

waking hours of the person.”

   45. Defendant violated N.C. General Statute §75-52 (4) when it continued to call Plaintiff’s

cellular phone after he notified the Defendant it was calling the wrong party and demanded it stop

calling. The repeated calls were made with the hope that Plaintiff would succumb to the harassing

behavior and ultimately submits a payment, even though the Defendant knew the debt was not his.

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Rather than abiding by his wishes, the Defendant continued its harassing campaign of phone calls

with the intent to harass Plaintiff into making a payment on the subject debt.

    b. Violations of N.C. General Statute §75-1.1(a)

   46. The N.C. General Statute §75-1.1(a) declares any unfair or deceptive acts or practices in

or affect commerce as unlawful

   47. Defendant violated §75-1.1(a) when it when it continuously called Plaintiff after being

notified to stop. This repeated behavior of continuously and systematically calling Plaintiff’s

telephone over and over after he demanded that it cease contacting him was harassing and abusive.

Even after being told to stop contacting him and the alleged debt did not belong to him, Defendant

continued its onslaught of phone calls with the specific goal of oppressing and abusing Plaintiff

into paying a debt that he did not legally owe as it belonged to another individual.

   48. Moreover, Defendant was repeatedly notified by Plaintiff that he is not the individual it

was looking for and that its calls were not welcomed. As such, Defendant knew that its conduct

was deceptive.




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    WHEREFORE, Plaintiff, Michael S. Mong, respectfully requests that this Honorable Court

enter Judgment in his favor as follows:

       a.      Declaring that the practices complained of herein are unlawful and violate the
               aforementioned statutes and regulations;
       b.      Awarding equitable relief pursuant to §75-145(1);
       c.      Awarding Plaintiff damages pursuant to §75-145(2);
       d.      Awarding Plaintiff his costs and fees, including reasonable attorney’s fees pursuant
               to §75-145(3);
       e.      Exemplary damages in an amount equal to fifty thousand dollars ($50,000) or three
               times the total of damages, costs, and fees, whichever is greater pursuant to §75-
               145(4);
       f.      Awarding any other relief as this Honorable Court deems just and appropriate.


    Plaintiff demands trial by jury


Dated: June 20, 2022                                 Respectfully Submitted,

                                                     MICHAEL S. MONG

                                                     /s/ Alexander J. Taylor
                                                     Alexander J. Taylor, Esq.
                                                     Sulaiman Law Group, Ltd.
                                                     2500 South Highland Avenue
                                                     Lombard, IL 60148
                                                     Phone: (630) 575-8181
                                                     ataylor@sulaimanlaw.com




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